      Case 20-22575-JNP          Doc 51     Filed 07/05/22 Entered 07/05/22 14:36:41              Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                           Order Filed on July 5, 2022
Seymour Wasserstrum, SW2734                                                by Clerk
LAW OFFICES OF SEYMOUR WASSERSTRUM                                         U.S. Bankruptcy Court
                                                                           District of New Jersey
205 W. Landis Avenue
Vineland, New Jersey 08360
Phone: (856) 696-8300
Fax: (856) 696-6962
Attorney for Debtor
                                                           Case No.:                 20-22575
In Re:
Stephanie Robinson                                         Hearing Date:

                                                           Judge:                       JNP

                                                           Chapter:                      13




                Recommended Local Form:               Followed             Modified



                                           ORDER REOPENING CASE
                                      To Convert Case to a Chapter 7 Bankruptcy
         The relief set forth on the following page is ORDERED.




          DATED: July 5, 2022
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       Upon the motion of                        Stephanie Robinson                         , and
for good cause shown, it is

       ORDERED as follows:

               1. This case is reopened.


               2.  A Trustee shall be appointed.

                   A Trustee shall not be appointed.

               3.  An amendment to the schedule(s) noted in the underlying motion shall be
                  filed within 14 days of the date of this order. If the amendment is not filed, the
                  case shall be reclosed without further order of the court.

               4. The case shall be reviewed within _____ days for closing eligibility. The case
                  may be closed upon entry of the discharge.

       The successful party shall serve this Order on the debtor, any trustee and all parties who
entered an appearance on this motion.




                                                                                         Rev. 5/1/2019


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